                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

CHEYNE NORMAN, PATRICIA
WECKWERTH and SOPHIA WESCOTT,
individually, on behalf of a class of similarly
situated individuals,                                   Case No. 3:18-cv-00588

                      Plaintiffs,

         v.                                             Judge William L. Campbell, Jr.
NISSAN NORTH AMERICA, INC. and                          Magistrate Judge Alistair E. Newbern
NISSAN MOTOR COMPANY, LTD,

                      Defendants.



                           AGREED PROTECTIVE ORDER
                   REGARDING CONFIDENTIAL DISCOVERY MATERIAL

          As requested and agreed to by Plaintiffs Cheyne Norman, Patricia Weckwerth and Sophia

Wescott (“Plaintiffs”) and Defendants Nissan North America, Inc. and Nissan Motor Co., Ltd

(“NNA” or “Defendants”) (collectively, the “Parties”), the parties request that the Court issue this

proposed Protective Order (the “Protective Order”) to facilitate document disclosure and

production in the above-captioned action (referred to as the “Litigation”) under the Local Rules of

the Middle District of Tennessee and the Federal Rules of Civil Procedure. Unless modified

pursuant to the terms contained in this Protective Order, this Protective Order shall apply to the

Litigation and remain in effect through the conclusion of the Litigation.

         In support of this Protective Order, the parties state that:

         1.        The Litigation concerns claims that model year 2013-2017 Nissan Versa, 2013-

2017 Nissan Versa Note and 2013-2017 Nissan Juke vehicles have an alleged transmission defect.

Documents and/or information containing confidential proprietary and business information

and/or trade secrets (“Confidential Information”) that bear significantly on the parties’ claims or



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defenses is likely to be disclosed or produced during the course of discovery in the Litigation;

         2.        The parties to the Litigation may assert that public dissemination and disclosure of

Confidential Information could severely injure or damage the party disclosing or producing the

Confidential Information and could place that party at a competitive disadvantage;

         3.        Counsel for the party or parties receiving Confidential Information are presently

without sufficient information to accept the representation(s) made by the party or parties

producing Confidential Information as to the confidential, proprietary and/or trade secret nature of

such Confidential Information; and

         4.        To protect the respective interests of the parties and to facilitate the progress of

disclosure and discovery in this Litigation, the following Protective Order should issue:

         IT IS THEREFORE ORDERED THAT:

         1.        Documents, including photographs, drawings, films, videotapes or other writings,

including lists or compilations thereof, answers to interrogatories, responses to other discovery

requests and deposition testimony or discovery by any party in this Litigation that qualify for

protection under Federal Rule of Civil Procedure 26(c) are referred to as “Confidential Material.”

Except as otherwise indicated below, all documents, including photographs, drawings, films,

videotapes or other writings, including lists or compilations thereof, answers to interrogatories,

responses to other discovery requests and deposition testimony designated by the producing party

as “Confidential,” “Subject to Protective Order,” or any combination thereof, and which are

disclosed or produced to the attorneys for the other parties to this Litigation are Confidential

Material and are entitled to Confidential treatment as described below.

         2.        Each Party or Non-Party that designates information or items for protection under

this Order must take care to limit any such designation to specific material that qualifies under the




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appropriate standards. If it comes to a designating party’s attention that information or items that

it designated for protection do not qualify for protection, that designating party must promptly

notify all other Parties that it is withdrawing the mistaken designation.

         3.        Confidential Material shall not include (a) advertising materials, (b) materials that

on their face show that they have been published to the general public, or (c) documents that have

been submitted to any governmental entity without request for Confidential treatment.

         4.        All documents marked Confidential and identified as exhibits to the deposition are

subject to this Order. All deposition testimony shall be treated as Confidential and subject to the

full protection of this Order for forty-five (45) days following the deposition. After such time,

only those portions of any transcript designated as “Confidential” by a designating party shall be

deemed Confidential. To designate a portion of a transcript as “Confidential,” a party must provide

written notice to all Parties and the stenographer identifying, by page and line number, the

Confidential testimony.

         5.        If at any time during the Litigation a party disputes the designation of discovery

material as Confidential, the objecting party will notify the designating party in writing of such

dispute, and request in writing a conference for the parties to confer in a good faith effort to resolve

the dispute. It shall be the responsibility of counsel for the objecting party to arrange for this

conference within fourteen (14) days of the request for a conference. The objecting party’s notice

will identify the material in dispute and explain the basis for the objection. If no response is

provided within fourteen (14) days of the objecting party’s request for a conference, then the

Confidential Material in dispute will no longer be subject to Confidential treatment as provided in

this Stipulated Protective Order.

         5.1       If the parties cannot resolve a challenge without court intervention, the designating




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party shall file a Motion for Protective Order within 14 days of the parties agreeing that the meet

and confer process will not resolve their dispute. If the party or parties producing the Protected

Documents do not timely file a motion for protective order, then the Protected Documents in

dispute shall no longer be subject to Confidential treatment as provided in this Order. All Protected

Documents are entitled to Confidential treatment pursuant to the terms of this Order until and

unless the parties formally agree in writing to the contrary, a party fails to timely move for a

protective order, or a contrary determination is made by the Court as to whether all or a portion of

a Protected Document is entitled to Confidential treatment.

         5.2       The burden of persuasion in any such challenge proceeding shall be on the

designating party. Frivolous challenges, and those made for an improper purpose (e.g., to harass

or impose unnecessary expenses and burdens on other parties) may expose the objecting party to

sanctions. Unless the designating party has waived the confidentiality designation by failing to

file a motion to retain confidentiality as described above, all parties shall continue to afford the

material in question the level of protection to which it is entitled under the designating party’s

designation until the Court rules on the challenge.

         6.        Confidential Treatment. Confidential Material and any information contained

therein shall not be used or shown, disseminated, copied, or in any way communicated to anyone

for any purpose whatsoever, except as provided below. Confidential Material may be copied only

by the parties’ counsel in the Litigation or by personnel or outside vendors assisting such counsel

and only for purposes permitted by this Protective Order, and control and distribution of

Confidential Material and copies thereof will be the responsibility of such counsel, who will

maintain all written assurances executed by such persons as provided in Paragraph 8.

         7.        Confidential Material and any information contained therein shall be disclosed only




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to the following persons (“Qualified Persons”):

         a.        The named parties, including the officers, directors, and employees (including

House Counsel) of the parties to whom disclosure is reasonably necessary for the Litigation;

         b.        counsel of record in the Litigation for the designating party or party receiving

Confidential Material or any information contained therein;

         c.        Employees of such counsel (excluding experts and investigators) assigned to and

necessary to assist such counsel in the preparation and trial of the Litigation;

         d.        An independent contractor or expert retained by counsel to provide assistance,

expert advice, technical consultation, language translation, or testimony in the Litigation and the

employees of any such contractors, experts, consultants or similar persons when working in

connection with the Litigation under direct supervision of said person;

         e.        Court reporters transcribing depositions in the Litigation;

         f.        Any witness at deposition (as contemplated by Paragraph 4), trial, or hearing in the

Litigation;

         g.        The Court (including the Court’s administrative and clerical staff).

         Confidential Material shall not be disclosed to any other person or entity without the prior

written consent of the designating party or order of the Court. Any disclosure shall be only to the

extent reasonably necessary for the effective prosecution and defense of the claims in the

Litigation. Confidential Material and any information contained therein shall be used by the

receiving party or parties solely for the prosecution of the Litigation and shall not be used by the

receiving party or parties for any other purpose or in any other litigation.

         8.        Prior to the disclosure of any of the materials or information covered by this

Protective Order to persons identified in paragraph 7 (d)-(f) of this Order, counsel disclosing the




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materials or information shall present the person with a copy of this Order. After reading the

Order, such persons shall initial each page of a copy of the Order and shall sign the attached form

of “Acknowledgment of Protective Order” (the “Acknowledgement”). Copies of each such signed

Order and Acknowledgement shall be maintained by counsel disclosing the materials or

information. In the event that any of these individuals are identified or designated as witnesses or

as experts who may testify in the Litigation, a copy of each such signed Order and

Acknowledgement shall be provided to opposing counsel at the time of the designation.

         9.        Counsel of record for the party or parties receiving Confidential Material may

create an index of the Confidential Material and furnish it to attorneys of record representing or

having represented parties involved in litigation involving the claims alleged in this suit against

the party or parties disclosing or producing the Confidential Material. The index may only identify

the document, date, author, and general subject matter of any Protected Document, but may not

reveal the substance of any such document. Counsel for the party or parties receiving Confidential

Material shall maintain a current log of the names and addresses of persons to whom the index

was furnished.

         10.       The term “copy” as used herein means any photographic, mechanical or

computerized copy or reproduction of any document or thing, or any verbatim transcript, in whole

or in part, of such document or thing.

         11.       To the extent that Confidential Material or information contained therein is used in

depositions, such documents or information shall remain subject to the provisions of this Protective

Order.

         12.       Any court reporter or transcriber who reports or transcribes testimony in the

Litigation shall agree that all “Confidential” information designated as such under this Order shall




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remain “Confidential” and shall not be disclosed by them, except pursuant to the terms of this

Protective Order, and that any notes or transcriptions of such testimony (and any accompanying

exhibits) will be retained by the reporter or delivered to counsel of record.

         13.       Without written permission from the designating party or a court order secured after

appropriate notice to all interested persons, a party may not file in the public record in this action

any Confidential Material. A party that seeks to file under seal any Confidential Material must

comply with Civil Local Rule 5.03. If a party’s request to file Confidential Material under seal

pursuant to Civil Local Rule 5.03 is denied by the Court, then the party may file the information

in the public record, unless otherwise instructed by the Court.

         14.       Inadvertent or unintentional production of documents or information containing

Confidential Information that are not designated “Confidential” shall not be deemed a waiver, in

whole or in part, of a claim for Confidential treatment.

         15.       Documents unintentionally produced without designation as “Confidential” at any

time during the Litigation may be retroactively designated by notice in writing of the designated

classification applicable to each document by Bates number, and by providing replacement copies

of such documents with the appropriate designation, unless such documents have already been

filed with the Court. Upon receipt of the replacement documents, the receiving party shall

thereafter return the documents being replaced to the producing party. Such documents shall be

treated as “Confidential” from the date written notice of the designation is provided to the receiving

party. A person disclosing any materials that are subsequently designated as “Confidential” shall

assist, in good faith, the party making the supplemental designation in retrieving such materials

from all recipients not entitled to such materials under the terms of this Protective Order and to

prevent further disclosures except as authorized under the terms of this Protective Order.




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Documents to be inspected shall be treated as “Confidential” during inspection. At the time of

copying for the receiving parties, such inspected documents shall be stamped prominently

“Confidential” by the producing party.

         16.       Pursuant to Federal Rule of Evidence 502(d) the production of a privileged or work-

product-protected document, whether inadvertent or otherwise, is not a waiver of privilege or

protection from discovery in this case or in any other federal or state proceeding. Said protection

exists with respect to such document or other documents or communications, written or oral,

including, without limitation, other communications referred to in the documents produced. Upon

request, such inadvertently produced documents, and all copies thereof, shall be sent to the

producing party, sequestered or destroyed within five (5) days of the date of the request, unless

such documents have already been filed with the Court. Furthermore, a party’s production shall

not be deemed a waiver of any party’s right to object for any reason to the admission of any

document or thing into evidence, nor shall the production be deemed an admission of its

admissibility or relevance. Nothing in this Paragraph shall prejudice the right of any party to seek

discovery or communications, documents and things as to which a claim of attorney-client

privilege or attorney work-product has been made.

         17.       The party or parties receiving Confidential Material shall not under any

circumstances sell, offer for sale, advertise, or publicize Confidential Material or any information

contained therein.

         18.       If any party receives a subpoena from any non-party to this Protective Order

seeking production or disclosure of Confidential Material, the subpoenaed party shall give notice,

as soon as practicable and in no event more than three (3) business days after receiving the

subpoena and at least seven (7) business days before providing materials responsive to the




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subpoena, to counsel for the designating party, which notice will enclose a copy of the subpoena,

such that the designating party may assert its rights, if any, to non-disclosure.

         19.       Any documents produced by a non-party witness in discovery in the Litigation

pursuant to subpoena or otherwise may be designated by such non-party as “Confidential” under

the terms of this Order, and such designation shall have the same force and effect, and create the

same duties, obligations, and remedies as if made by one of the parties hereto.

         20.       After termination of the Litigation, the provisions of this Protective Order shall

continue to be binding, except with respect to those documents and information that become a

matter of public record. This Court retains and shall have continuing jurisdiction over the parties

and recipients of the Confidential Material for enforcement of the provisions of this Protective

Order following termination of the Litigation.

         21.       Within thirty (30) days of termination of the Litigation by dismissal, judgment, or

settlement, including any appeals, counsel for the party or parties receiving Confidential Material

shall return the Confidential Material, including all copies to counsel for the party or parties

disclosing or producing the Confidential Material or alternatively, the parties shall provide

certification under oath under penalty of perjury under the laws of the United States of America

confirming that counsel have destroyed all documents within their possession, custody or control.

The party or parties receiving Confidential Material shall undertake reasonable and a good faith

effort to ensure that any person to whom they provide copies of any Confidential Information

complies with this obligation. This provision will not apply to court filings or file copies of

pleadings, briefs or correspondence or other work product maintained by the parties’ respective

counsel in the ordinary course of business.

         22.       This Protective Order shall be binding on any party to this Protective Order or any




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person having executed the attached Exhibit A. This Protective Order also shall be binding upon

the parties and their attorneys, successors, executors, personal representatives, administrators,

heirs, legal representatives, assigns, subsidiaries, divisions, employees, agents, independent

contractors, or other persons or organizations over which they have control.

         23.       If other parties are added to the Litigation, no Confidential Material previously

exchanged, produced, or used herein will be disclosed to such other parties or their counsel except

upon their agreeing to be bound by the provisions of this Protective Order. This provision does

not prejudice any party’s rights to object to the production or disclosure of Confidential Material

or non-confidential documents or other information to a party added to the Litigation.

         24.       This Protective Order is without prejudice to the right of any party to move the

Court for an order for good cause shown for protection of Confidential Material sought by or

produced through discovery, which protection is different from or in addition to that provided for

in this Protective Order, and such right is expressly reserved.
                 December 17
         DATED: ____________________, 2018.

                                                       ___________________________________
                                                       Magistrate Judge Alistair E. Newbern




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

CHEYNE NORMAN, PATRICIA
WECKWERTH and SOPHIA WESCOTT,
individually, on behalf of a class of similarly
situated individuals,                                Case No. 3:18-cv-00588

                   Plaintiffs,                       CLASS ACTION

         v.                                          Judge William L. Campbell, Jr.
NISSAN NORTH AMERICA, INC. and                       Magistrate Judge Alistair E. Newbern
NISSAN MOTOR COMPANY, LTD,

                   Defendants.


                     ACKNOWLEDGMENT OF PROTECTIVE ORDER

         I hereby acknowledge that I have read the Stipulated Protective Order Regarding

Confidential Discovery Material (“Protective Order”) entered in Norman, et al. v. Nissan North

America, Inc., et al., Case No. 3:18-cv-00588, understand its terms, agree to be bound by each of

those terms, and agree to submit myself to the jurisdiction of the United States District Court for

the Middle District of Tennessee, Nashville Division, for the purposes of enforcing the terms of

the Protective Order.

         Specifically and without limitation upon such terms, I further agree that I will not

disseminate, use or disclose any Confidential Material protected by the Protective Order that I have

received and/or reviewed in this case to anyone other than the Qualified Persons defined in

Paragraph 7 of the Protective Order.

Dated: ___ day of ________________, 20___.


Signature


Printed Name:



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